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AO 2458 (SCD Rev. 8/06) Sheet 1 - Judgment in a Criminal Case




                            United States District Court
UNITED STATES OF AMERICA
                                  District ofSouth Carolina
                                                JUDGMENT IN A CRIMINAL CASE
                                                                      (For Offenses Committed On or AfterNovember I, 1987)
         vs.                                                                                                            c:
                                                                                                                        o>
                                                                      Case Number: 2:06-1294 (1)                        o
                                                                                                                        n
KELLY EDWARD WADFORD, JR
                                                                      US Marshal's Number:I4545-I7I          :':0        r'"'1
                                                                                                             :;.0        ;;:'0\
                                                                                                                          , n
                                                                                                                            CJr1
                                                                      DAVIn PAUL MCCANN                                     ::~~
                                                                      Defendant's Attorney                    -n             2'd
                                                                                                               u             r-'I
THE DEFENDANT:                                                                                                 r:..;>        ~
•      pleaded guilty to Count(s) 8 and 9 ofthe Superseding Indictment on November 26, 2007.                    s:           ~
o      pleaded nolo contendere to count(s) on which was accepted by the court.                                  0-               '~
•    was found guilty on Count(s) 1. 2, 3, 4, 5, 6, 7.10 and II ofthe Superseding Indictment on November 30,
     2007 after a plea of not guilty.
Accordingly, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                      Date Offense              Count
Title & Section                            Nature of Offense                           Concluded               Number(s)
18:1030(a)(4) and 1030(b)                  Please see superseding indictment         June 20, 2006                      Is
18: I 028ACa)(1)                           Please see superseding indictment         June 20, 2006                 2s
21:841(a)(1), (b)(1)(D), and 846           Please see superseding indictment         March 20, 2005                3s
l8:2422(a)                                 Please see superseding indictment         April 11,2005                 4s
18:875(b)                                  Please see superseding indictment         June 20, 2006              5s and 6s
18:875(d)                                  Please see superseding indictment         June 20, 2006                 7s
18:922(g)(1) and 924(a)(2)                 Please see superseding indictment         July 18, 2006                 8s
18:922(g)(1). 924(a)(2)                    Please see superseding indictment         January 3, 2007               9s
and 3147(1)
18:1512(a)(2)(A) and 3147Cl)               Please see superseding indictment          January 3, 2007
18:924(c)(1)                               Please see superseding indictment          January 3, 2007

        The defendant is sentenced as provided in pages 2 through 2. of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
D         The defendant has been found not guilty on count(s)
•         Count(s) 1-8 of the Original Indictment Dis .are dismissed on the motion of the United States.
D       Forfeiture provision is hereby dismissed on motion of the United States Attorney.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court or United States attorney of any
material change in the defendant's economic circumstances.
                                                                     APRIL 7, 2008




                                                                        P. MICHAEL DUFFY, US DISTRICT JUDGE
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AO 2458 (SeD Rev. 8/06) Judgment in a Criminal Case
         Sheet 2 - Imprisonment



DEFENDANT: KELLY EDWARD WADFORD, JR
CASE NUMBER: 2:06-1294 (I)

                                                          IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of One Hundred Eighty (180) months. Such term consists of70 months as to Counts
One, Three, Four, Five, Six, Seven and Eight, said terms to run concurrently; Two years as to Count Two to run
consecutively; Five years as to Count Eleven to run consecutively; and 26 months as to Counts Nine and Ten to
run concurrently to one another, but consecutively to any other count, to satisfy the provisions of 18 USC §
3147 as described in U.S.S.G. § 5G1.2. The defendant shall pay a $1l00.00 special assessment fee, due
beginning immediately.

•      The court makes the following recommendations to the Bureau of Prisons: The defendant shall be
designated to FCr Williamsburg.



•          The defendant is remanded to the custody of the United States Marshal.


D          The defendant shall surrender to the United States Marshal for this district:
           D     at a.m./p.m. on.
           D     as notified by the United States Marshal.

D       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                               RETURN
I have executed this Judgment as follows:




Defendant delivered on                                            to                                                   _
at                                                               , with a certified copy of this Judgment.

                                                                                        UNITED STATES MARSHAL

                                                                                        Deputy United States Marshal
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AD 245B (SeD Rev. 8/06) Judgment in a Criminal Case
          Sheet3 Supervised Release
                M




DEFENDANT: KELL y EDWARD WADFORD, JR
CASE NUMBER: 2:06-1294 (1)

                                                      SUPERVISED RELEASE
     Upon release from imprisomnent, the defendant shall be on supervised release for a term of Five (5) years. While on supervised
release, the defendant shall comply with the mandatory and standard conditions of supervision as well as the following special
conditions: I. The defendant shall satisfactorily participate in an approved mental health treatment program as approved by the U.S.
Probation Office. 2. The defendant shall be placed on Home Confinement with electronic monitoring and/or voice identification for a
term of 6 months, at the govenunent's expense. 3. The defendant shall participate in a sex offender treatment program, approved by the
U.S. Probation Office, which may include physiological and psychological testing to determine the defendant's sexual orientation and
patterns of arousal. 4. The defendant shall register with the state sex offender registration agency in the state where the defendant
resides, works, or is a student, as directed by the probation office. 5. The defendant shall not possess, procure, purchase or otherwise
obtain access to any form of computer network, bulletin board, Internet, or exchange format involving computers unless specifically
approved by the United States Probation Office. 6. The defendant shall not possess any audio or visual depictions containing sexually
explicit conduct as defmed in 18 U.S.c. § 2256(2)(A). 7. The defendant shall submit to random polygraphs conducted by any person
deemed appropriate by the U.S. Probation Office.

    The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.
For offenses committed on or after September 13, 1994:
    The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
days of release from imprisomnent and at least two periodic drug tests thereafter.
o      The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
       substance abuse. (Check, if applicable.)
•      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable)
•      The defendant shall cooperate in the collection of ONA as directed by the Probation Office. (Check, if applicable)
•      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the Probation Office. (Check, if applicable)
o     The defendant shall participate in an approved rehabilitation program for domestic violence. (Check, if applicable)
If this judgment imposes a fme or a restitution obligation, it shall be a condition of supervised release that the defendant pay any such
fine or restitution that remains un\,aid at the commencement of the term of supervised release in accordance with the Schedule of
Payments set forth in the Crimina Monetary Penalties sheet of this judgment.
The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the additional conditions on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
I)         the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)         the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
           days of each month;
3)         the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)         the defendant shall support his or her dependents and meet other family responsibilities;
5)         the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or
           other acceptable reasons;
6)         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to controlled substances, except as prescribed by a physician;
8)         the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)         the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
           convicted of a felony unless granted permission to do so by the probation officer;
10)        the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
           confiscation of any contraband observed in plain view by the probation officer;
 II)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
           the permission of the court;
 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
           criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
           confirm the defendant's compliance with such notification requirement.
 14)       the defendant shall not commit another federal, state or local crime during the term of supervision.
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AO 245B (SeD Rev. 8/06) Judgment in a Criminal Case
         Sheet 4 - Criminal Monetarv Penalties

DEFENDANT: KELLY EDWARD WADFORD, JR
CASE NUMBER: 2:06-1294 (1)

                                          CRIMINAL MONETARY PENALTIES

                                   The defendant will make all checks and money orders
                    navable to the "Clerk, U.S. District Court" unless otherwise directed bv the court.

   The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of
payments set forth on Sheet 5.
                               Assessment                                                Restitution
   Totals:                $ 1100.00                                                   L


D    The determination of restitution is deferred until An Amended Judgment in a Criminal Case will be entered
     after such determination.

D    The defendant shall make restitution (including community restitution) to the following payees in the
     amount listed on the next page.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment
     unless specified in the priority order or percentage payment column on the next page. However, pursuant to
     18 U.S.C. § 3664(i), all nonfederal victims must be paid in full prior to the United States receiving payment.

SEE VICTIM(S) LIST ON THE NEXT PAGE

D    If applicable, restitution amount ordered pursuant to plea agreement. . . . . . . . . . . . . . . . ~


D    The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution
     is paid in full before the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. §3612(f). All ofthe
     payment options on Sheet 5, Part B, may be subject to penalties for default and delinquency pursuant to 18
     U.S.c. §3612(g).

D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          D         The interest requirement is waived for theD fine and/or D restitution.
          D         The interest requirement for the D fine and/or D restitution is modified as follows:


**Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18
for offenses committed on or after September 13, 1994, but before April 23, 1996.
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AD 2456     (SCD Rev. 8/06) Judgment in a Criminal Case
            Sheet5 - Criminal Monetary Penalties


DEFENDANT: KELLY EDWARD WADFORD, JR
CASE NUMBER: 2:06-1294 (1)

                                                  SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A   •     Lump sum payment of$ 1100.00 due immediately.

           o not later than, or
           o in accordance with         0   C,    0    D, or    0   E below; or


B   0      Payments to begin immediately (may be combined with                0   C,    0   D, or     0   E below); or


C    0     Payments in (e.g., equal, weekly, monthly, quarterly) installments ofi over a period of (e.g., months or years), to commence
           after the date ofthis judgment; or


D    0     Payments in (e.g., equal, weekly, monthly, quarterly) installments ofi over a period of (e.g., months or years), to commence
           (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    0     Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from imprisonment.
           The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F    0     Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalties, except those
payments made through the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of court, unless
otherwise directed by the court.

The Defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

o    Joint and Several

     Defendant and Co-Defendant names and case numbers (including defendant number), total amount, joint and several amount, and
     corresponding payee, if applicable.




o    The defendant shall pay the cost of prosecution.
o    The defendant shall pay the following court cost(s):
o    The defendant shall forfeit the defendant's interest in property as directed in the Preliminary Order of Forfeiture, filed                      _
     and the said order is incorporated herein as part ofthis judgment:


Payments shall be applied in the following order: (1) assessment, (2) restitutionprincipal, (3) restitution interest, (4) fine principal, (5) community
restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.
